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 5
     Attorneys for Qasir Mukhtar
 6
                 UNITED STATES DISTRICT COURT
 7
                      DISTRICT OF NEVADA
 8
     UNITED STATES OF AMERICA, )
 9                               )
                   Plaintiff,    ) Case No. 2:12-CR-0004-MMD-(GWF)
10                               )
          v.                     )
11                               )
     QASIR MUKHTAR, et. al.,     )
12                               )
                 Defendants.     )
13   ___________________________ )
14                 DEFENDANT’S MOTION FOR EXTENSION
              OF TIME TO FILE A REPLY TO THE GOVERNMENT’S
15               OPPOSITION TO HIS MOTION FOR PRETRIAL
             RELEASE AND FOR SUSPENSION OF LOCAL RULE 47-7
16
                                      (Second Request)
17

18         Certification: In accordance with Local Rule 12-1(c), Defendant Qasir Mukhtar,

19   by and through undersigned counsel, hereby certifies that this motion is filed past the

20   deadline of January 30, 2013.

21         By Order dated January 29, 2013 (Pacer document 284), the Court granted Mr.

22   Mukhtar until January 30, 2013 to file a reply to the government’s opposition to his

23   second motion for pretrial release. Pursuant to Federal Rule of Criminal Procedure

24   45(b)(1)(B), Defendant respectfully requests that the Court extend Defendant’s time to

25

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 1   file a reply by one business day or until January 31, 2013.1 Mr. Mukhtar also requests

 2   that the Court suspend the requirements of Local Rule 47-7.

 3          In support of this motion, Defendant relies upon the memorandum of points and

 4   authorities set forth below.

 5                 MEMORANDUM OF POINTS AND AUTHORITIES
 6          Federal Rule of Criminal Procedure 45(b)(1)(B) provides that a court may permit

 7   a party to perform an act, past the appointed deadline, based upon “excusable neglect.”

 8   In this case, good cause exists to extend the current deadline for filing a reply to the

 9   government’s opposition to Defendant’s motion for pretrial release.

10          Undersigned counsel spent the better part of yesterday working to complete

11   Defendant’s reply. The reply was completed at approximately 11:30 p.m. last night.

12   However, undersigned counsel experienced difficulties when attempting to convert the

13   reply brief document to PDF format in order to file it through the Court’s CM/ECF

14   system. Once the problem was resolved, undersigned counsel filed the reply brief but

15   not until 3 seconds after the stroke of midnight. Accordingly, the brief was filed past the

16   appointed deadline of January 30, 2013. While it would have been better to have

17   completed the brief earlier in the day, as noted in Defendant’s prior motion for extension

18   of time undersigned counsel has been battling illness. Thus, despite best efforts, and

19   based upon technical difficulties, undersigned counsel was not able to timely file the

20   reply brief thereby necessitating the filing of this motion. Because the reply brief was

21   only filed 3 seconds past the January 30, 2013 deadline, the government will

22   experience no prejudice should the Court grant this second motion for extension of time

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            1
24             The Court has scheduled a hearing for February 4, 2013. However, Defendant
     is amenable to a short postponement of the hearing in order to give the Court ample
25   time to fully consider the second motion for pretrial release.
26                                                2
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 1   to enlarge Defendant’s time to file a reply brief to and until January 31, 2013.

 2           In addition to the foregoing, Defendant also respectfully requests that the Court

 3   suspend the requirements of Local Rule 47-7 which imposes a page limit of 20-pages

 4   on reply briefs and requires briefs that exceed that limit to be accompanied by a table of

 5   contents. The reply brief that was filed last night by undersigned counsel is

 6   approximately 22-pages. As this Court is aware, Local Rule IA 3-1 permits the Court to

 7   suspend any local rule if the interests of justice so require. In this case, Defendant

 8   respectfully requests that the Court suspend the requirements of Local Rule 47-7 with

 9   respect to the reply brief that was filed by Defendant shortly past midnight on January

10   31, 2013.

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 1                                       CONCLUSION

 2         For the reasons set forth above, Defendant respectfully requests that the Court

 3   grant Defendant the relief requested herein.

 4                                                        Respectfully submitted,

 5                                                        /s/ Paul S. Padda
                                                          ______________________
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10                                                        Attorney for Qasir Mukhtar

11                                                        Dated: January 31, 2013

12
                                      IT IS SO ORDERED:
13
                                      Defendant is provided a 1-business day extension
14                                    of time, to and until January 31, 2013, to file a
                                      reply to the government’s opposition to
15                                    Defendant’s second motion for pretrial release.
                                      Additionally, the Court hereby suspends the
16                                    requirements of Local Rule 47-7 with respect to
                                      the reply brief.
17

18                                    ______________________________
                                      United States Magistrate Judge
19
                                      Dated: February 1, 20132013
                                             January _____,
20

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